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                EXHIBIT
                  A
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 )
 MAKE THE ROAD STATES, INC.,                     )   No. 2:25-cv-02938
 NAACP BUCKS COUNTY BRANCH                       )
 2253, BUXMONT UNITARIAN                         )
 UNIVERSALIST FELLOWSHIP,                        )
 and JUAN NAVIA,                                 )
                                                 )
            Plaintiffs,                          )
                                                 )
            v.                                   )
                                                 )
 FREDERICK A. HARRAN,                            )
 individually and in his official                )
 capacity as Sheriff of Bucks County,            )
 and BUCKS COUNTY,                               )
                                                 )
            Defendants.                          )

        DECLARATION OF MARIELLE MACHER, ESQ. ON BEHALF OF THE
                     COMMUNITY JUSTICE PROJECT

       I, Marielle Macher, Esq., declare as follows:

       1.        I am the executive director of the Community Justice Project (“CJP”).

       2.        CJP, along with the American Civil Liberties Union of Pennsylvania, represent

Plaintiffs in the above-referenced litigation.

       3.        CJP is a non-profit legal aid program that focuses on impact-oriented

advocacy. With the help of legal services organizations and community groups, CJP challenges

policies and practices that cause hardship to low-income people throughout the Commonwealth.

We fight for improvements to public benefits, increased access to affordable housing, better pay

for workers, civil rights, and many other issues. CJP typically focuses its advocacy on broad-based

issues affecting large numbers of people. We undertake class action litigation, litigate against the

government, and represent immigrants and institutionalized populations.

       4.        I have been executive director of CJP since 2019 and worked as a staff attorney at

CJP for five years before becoming executive director. Prior to that, I was a Skadden Fellow at


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the Washington Lawyers’ Committee for Civil Rights & Urban Affairs and a law clerk to the Hon.

Thomas I. Vanaskie of the U.S. Court of Appeals for the Third Circuit. I graduated cum laude

from Harvard Law School and summa cum laude from Cornell University.

       5.      At CJP, I regularly litigate in federal and state court and before administrative

tribunals on a wide range of employment, housing, consumer, and civil rights issues, including

class actions and other complex litigation.

       6.      All CJP attorneys and staff base their hourly rates on the Community Legal Services

(“CLS”) Attorney Fees guide, available at https://clsphila.org/about-cls/attorney-fees.

       7.      The CLS fee schedule has long been recognized as “a fair reflection of the

prevailing market rates” in Pennsylvania. Swaayze v. Philadelphia Hous. Auth., No. CIV. A. 91-

2982, 1992 WL 81598, at *2 (E.D. Pa. Apr. 16, 1992); see also Rainey v. Philadelphia Hous. Auth.,

832 F. Supp. 127, 129 (E.D. Pa. 1993); Pelzer v. City of Philadelphia, 771 F. Supp. 2d 465, 470

(E.D. Pa. 2011); Loesch v. City of Philadelphia, No. CIV. A. 05-CV-0578, 2008 WL 2557429, at

*3 (E.D. Pa. June 25, 2008).

       8.      As an attorney with approximately fourteen years of experience, my hourly rate

under the CLS fee schedule is presently $500 per hour.

       9.      I spent 32 hours opposing Defendant Frederick A. Harran’s attempt to remove this

case to federal court, mostly on drafting the brief and reply brief in support of Plaintiffs’ Expedited

Motion for Remand. A chart on my timekeeping on this matter is attached.

       10.     The Community Justice Project thus seeks $16,000 ($500 x 32) in attorneys’ fees

pursuant to this Court’s June 27, 2025 Order, Dkt. 22.




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I declare under penalty of perjury that the foregoing is true and correct.


DATE: July 1, 2025

                                                      /s/ Marielle Macher
                                                      Marielle Macher, Esq.




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Make the Road v. Harran – Marielle Macher Attorney Time - E.D. Pa.
Hourly Rate = $500


 Date           Description                                                  Time    Amount
 06/09/2025     Drafted motion for remand and supporting brief               3.1     $1,550.00
 06/10/2025     Drafted motion for remand and supporting brief               3       $1,500.00
 06/10/2025     Drafted motion for remand and supporting brief               0.6     $300.00
 06/10/2025     Drafted brief in support of remand                           5.3     $2,650.00
 06/11/2025     Reviewed edits to motion for remand                          0.1     $50.00
 06/16/2025     Research on 1442(a)(1) removal                               1.4     $700.00
 06/16/2025     Status conference re: motion for expedited remand            0.6     $300.00
 06/17/2025     1442 removal research and email to co-counsel                1       $500.00
 06/17/2025     Research on 1442 removal                                     1.1     $550.00
 06/17/2025     Research on 1442 removal                                     1.2     $600.00
 06/18/2025     Research on federal defense/1442 removal                     0.5     $250.00
 06/18/2025     Research on colorable federal defense                        1       $500.00
 06/19/2025     Drafted reply brief in support of motion for remand          4.2     $2,100.00
 06/20/2025     Drafted reply brief in support of motion for remand          1.9     $950.00
 06/20/2025     1442 removal research                                        0.6     $300.00
 06/20/2025     Edits to reply brief in support of motion for remand         1.2     $600.00
 06/21/2025     Drafted reply brief in support of motion for remand          0.5     $250.00
 06/21/2025     Research on 1442 remand                                      0.3     $150.00
 06/22/2025     Research on colorable federal defense prong of 1442          1.4     $700.00
                removal
 06/23/2025     Research on sovereign immunity defense                       0.4     $200.00
 06/23/2025     Reviewed second draft of reply brief in support of motion    0.1     $50.00
                for remand
 06/23/2025     Drafted reply brief in support of motion for remand          2.5     $1,250.00
                TOTAL                                                        32      $16,000.00




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